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Hon. Ona T. Wang
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RE:    The New York Times Co. v. Microsoft Corp., et al. No. 1:23-cv-11195
       Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285
       The Center for Investigative Reporting, Inc. v. Microsoft Corp., et al. No. 1:24-cv-04872

Dear Judge Wang:

Microsoft respectfully requests a pre-motion conference regarding Plaintiff The New York Times
Company’s (“The Times”) refusal to produce documents concerning The Times’s own use of
Generative AI. Specifically, Microsoft requests the Court compel The Times to produce: (1)
documents reflecting efforts by The Times to train, fine-tune, or otherwise develop and use a
Generative AI tool; and (2) a survey conducted by The Times concerning workplace generative
AI usage. These documents are highly relevant to three aspects of Microsoft’s defense: first, they
are relevant to establishing the fair use first factor—namely, that these models are a transformative
use; second, they are directly relevant to assessing The Times’s claims of harm under the Supreme
Court’s decision in Google v. Oracle; and third, they are relevant to establish Microsoft’s
substantial noninfringing uses defense to The Times’s claims for contributory liability. Despite
this relevance, The Times has nevertheless refused to produce relevant, non-privileged documents
about its own efforts to create and its own use of Generative AI tools. Microsoft asks the Court to
compel The Times to produce these documents.
The evidence Microsoft requests is highly relevant to three significant aspects of its defense:
1.      Transformative Use. Microsoft is entitled to this evidence to prove that Generative AI
models are a highly transformative use of the works in suit. The process of turning a mass of text
into a Generative AI tool, through training an AI using (among others) the works in suit, is clearly
a significant transformation. The evidence Microsoft seeks therefore relates to the “primary
inquiry” underpinning the first factor: “whether the new work, ‘. . . merely supersede[s] the objects
of the original creation, . . . or instead adds something new, with a further purpose . . . . [I]t asks,
in other words, whether and to what extent the new work is ‘transformative.’” Authors Guild v.
Google, Inc., 804 F.3d 202, 214-15 (2d Cir. 2015) (quoting Campbell v. Acuff-Rose Music, Inc.,
510 U.S. 569, 578-79 (1994)). Additionally, with respect to The Times’s output claims regarding
Microsoft’s generative search engines, the transformative purpose of delivering information from
many sources more efficiently is also significant: “[A] secondary use may be a fair use if it utilizes


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technology to achieve the transformative purpose of improving the efficiency of delivering content
without unreasonably encroaching on the commercial entitlements of the rights holder.” Fox News
Network, LLC v. TVEyes, 883 F.3d 169, 177 (2d Cir. 2018).
2.      Lack of Harm. Additionally, this evidence is relevant in two ways to the fourth factor of
fair use. Any failed efforts by The Times to develop its own Generative AI system using its works
would undermine its claims of harm. Google LLC v. Oracle America, Inc., 593 U.S. 1, 36 (2021)
(failure to develop technology weighed against harm in analysis of fourth factor). Positive uses of
the technology are also relevant to balancing any claims of harm under the fourth factor of fair
use. See id. at 35 (“we must take into account the public benefits the copying will likely produce”).
3.      Substantial Noninfringing Uses. Finally, in addition to supporting Microsoft’s showing
of transformative use under the first factor, the nature of the uses of the works at issue is also
relevant to the substantial noninfringing uses defense. The Times alleges that Microsoft is
secondarily liable in two respects: (1) that Microsoft is secondarily liable for OpenAI’s
development of AI; and (2) that Microsoft is secondarily liable for any use by end users of its tools
that result in infringement of its works (output infringement). That the technology is capable of
substantial noninfringing uses is a defense to both of these claims. See Sony Corp. of Am. v.
Universal City Studios, Inc., 464 U.S. 417, 417 (1984) (holding early videocassette recorders are
“capable of substantial noninfringing uses” based on evidence of “[p]rivate, noncommercial time-
shifting in the home”); Cartoon Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d 121, 133 (2d
Cir. 2008) (“asking whether copying copyrighted material is only ‘incidental’ to a given
technology is akin to asking whether that technology has ‘commercially significant noninfringing
uses,’ another inquiry the Sony Court found relevant to whether imposing contributory liability
was just.”) (quoting Sony, 464 U.S. at 442).

The two categories of requested documents directly address these aspects of Microsoft’s defenses
because The Times has itself attempted to create Generative AI, and is also apparently making
widespread use of it in the workplace.

1.       The Times’s Effort to Develop Generative AI Tools. Based upon public reports indicating
that The Times tried to train its own Generative AI model, Microsoft propounded the following
requests: Request No. 31 (training and fine-tuning of The Times’s “generative AI ad tool”
referenced in an article published by Axios); No. 32 (training and fine-tuning of any other
Generative AI model developed, used, or considered for use by The Times); No. 102 (The Times’s
efforts to train, develop, or use any LLM or Generative AI model); No. 106 (The Times’s
                       . See Ex. A (The Times’s Resps. & Objs. to Microsoft’s First Set of Requests
for Production) at 23-24; Ex. B (The Times’ Resps. & Objs. to Microsoft’s Second Set of Requests
for Production) at 20-23. The Times’s efforts to develop its own models are directly relevant to
the first and fourth factors. The Times has outright refused these requests.

Nevertheless, documents confirming Microsoft’s theory have leaked into The Times’s production.
One such document indicates that The Times                                             (Ex. C,
NYT_00198239), and that                                                                    :



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Accordingly, The Times must produce all information about its own efforts to construct AI models.
Whether and how The Times developed and is using its own Generative AI tool is directly relevant
to the fair use and substantial non-infringing use defenses. Microsoft’s Requests are not overly
broad—they are focused on the training, fine-tuning, development, or use of any such models. To
the extent that this is limited to The Times “generative AI ad tool” and
                                     this should not be overly burdensome. And, indeed, the thrust
of The Times pushback on these Requests has not been about burden, but instead about relevance.
This material is unquestionably relevant, and The Times should be compelled to produce it. See,
e.g., Viacom Int’l Inc. v. Youtube Inc., 253 F.R.D. 256, 261-62 (S.D.N.Y. 2008) (granting motion
to compel evidence of substantial non-infringing uses).

2.     Documents Regarding The Times’s Workplace Use of GenAI.

                                                                     Indeed, on The Times’s podcast
Hard Fork, reporter Kevin Rouse described generative AI as “the best research assistant [he has]
ever had.” Can A.I. Save the Middle Class?, Hard Fork Ep. 77, available at YouTube
https://www.youtube.com/watch?v=Xp1Bu-ssFVg. Documents produced by The Times indicate
that
                      Ex. D, NYT_00115513. Microsoft therefore served Request No. 108 seeking
documents and communications relating to                     Ex. B at 23-24. Understanding how The
Times’s employees themselves are using Generative AI tools goes directly to the question of
whether these tools are capable of substantial non-infringing uses, as well as the societal benefits
they offer. It is clear that The Times has in its possession information regarding

Indeed, it appears that The Times was in fact
     that it seeks to dismantle with this lawsuit. See Ex. D

                                        Production of this          is the least invasive and most
efficient means for Microsoft to discover the evidence to which it is entitled of how
                                          .

The Times has not articulated any burden associated with the production of any of these
documents—it has simply stated that it will not produce them because it believes its development
and use of such tools is irrelevant—and has otherwise failed to provide any reasonable or rational
explanation to justify excusing it from participating in standard fair use discovery.

For the reasons presented, Microsoft respectfully requests the Court compel The Times to produce
documents responsive to Request Nos. 31-32, 102, 106, and 108.


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Respectfully submitted,

/s/ Annette L. Hurst

Annette L. Hurst




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